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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                  v.                             :      Case No. 1:21-cr-00222 (TFH)
                                                 :
GEORGE PIERRE TANIOS,                            :
                                                 :
                                                 :
UNITED STATES OF AMERICA                         :
                                                 :
                  v.                             :
                                                 :
JULIAN ELIE KHATER,                              :
                                                 :
                         Defendants.             :

                       PROTECTIVE ORDER GOVERNING DISCOVERY

       To expedite the flow of discovery material between the parties and adequately protect the

United States’ legitimate interests, it is, pursuant to the Court’s authority under Fed. R. Crim. P.

16(d)(1) and with the consent of the parties, ORDERED:

       1.         Materials Subject to this Order. This Order governs materials provided by the

United States at any stage of discovery during this case and which the United States has

identified as either “Sensitive” or “Highly Sensitive.” Examples of materials that the United

States may designate as “Sensitive” or “Highly Sensitive” pursuant to this Order include but are

not limited to:

            a. Personal identity information as identified in Rule 49.1 of the Federal Rules of
                  Criminal Procedure, as well as telephone numbers, email addresses, driver’s
                  license numbers, and similar unique identifying information;
            b.    Information regarding the government’s confidential sources;
            c.    Information that may jeopardize witness security;
            d.    Contact information for, photographs of, and private conversations with
                  individuals that do not appear to be related to the criminal conduct in this case;
            e.    Medical or mental health records;
            f.    Sources and methods law-enforcement officials have used, and will continue to
                  use, to investigate other criminal conduct related to the publicly filed charges;
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              g. Surveillance camera footage from the U.S. Capitol Police’s extensive system of
                 cameras on U.S. Capitol grounds; 1
              h. Repair estimates from the Architect of the Capitol;
              i. Materials designated as “security information” pursuant 2 U.S.C. §1979; and
              j. Tax returns or tax information.

This Order will not be used to designate materials as Sensitive or Highly Sensitive unless such

designation is necessary for one of the reasons stated in this paragraph or for a similar reason not

anticipated by this Order. The government agrees to make every effort to provide discovery in a

manner that will allow for most discovery to be produced without such designations.

         2.       Defendant. Any reference to “Defendant” herein refers individually to each

defendant identified in the caption above.

         3.       Legal Defense Team. The “legal defense team” includes defense counsel

(defined as counsel of record in this case, including any post-conviction or appellate counsel)

and any attorneys, investigators, paralegals, support staff, and expert witnesses who are advising

or assisting defense counsel in connection with this case.

         4.       Rules for the Handling of Sensitive and Highly Sensitive Materials.

                  a. Limitations on Use. Defendant and the legal defense team may use Sensitive
                     and Highly Sensitive discovery materials solely in connection with the
                     defense of this case and any other case connected to the events at the United
                     States Capitol on January 6, 2021, including any post-conviction or appellate
                     litigation, and for no other purpose, and in connection with no other
                     proceeding, without further order of this Court.

                  b. Limitations on Dissemination. No Sensitive or Highly Sensitive materials,
                     or the information contained therein, may be disclosed to any persons other
                     than Defendant, the legal defense team, or the person to whom the Sensitive
                     or Highly Sensitive information solely and directly pertains or his/her counsel,
                     without agreement of the United States or prior authorization from the Court.


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 To be clear, this does not include footage from body worn cameras from other police departments that responded
on January 6, 2021, the vast amount of which the United States will not designate as Sensitive or Highly Sensitive.
(Body worn camera footage will be marked Sensitive or Highly Sensitive only if it contains material described in
paragraph one above or for a similar reason not anticipated by this Order.)


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               c. Limitations on Reproduction. Defendant, the legal defense team, and
                  authorized persons shall not copy or reproduce the Sensitive or Highly
                  Sensitive materials except in order to provide copies of the materials for use in
                  connection with this case by Defendant, the legal defense team, the person to
                  whom the Sensitive or Highly Sensitive information solely and directly
                  pertains or his/her counsel, and other persons to whom the Court may
                  authorize disclosure (collectively, “authorized persons”).

                   If defense counsel provides Defendant access to Sensitive or Highly Sensitive
                   materials, defense counsel must advise Defendant that Defendant may not
                   record any personal identity information as identified in Rule 49.1 of the
                   Federal Rules of Criminal Procedure or any telephone numbers, email
                   addresses, driver’s license numbers, and similar unique identifying
                   information. By signing the attached affirmation, Defendant agrees not to do
                   so.

                   Copies and reproductions, and any notes or records made in relation to the
                   contents of the Sensitive and Highly Sensitive materials, are to be treated in
                   the same manner as the original materials.

               d. Court Filings. Absent prior agreement by the parties or permission from the
                  Court, no party shall disclose materials designated as Sensitive or Highly
                  Sensitive in any public filing with the Court. Such materials shall be
                  submitted under seal in accordance with Local Criminal Rule 49(f)(6). The
                  Clerk of Court shall accept for filing under seal any filings made in
                  compliance with that Rule and so marked by the parties pursuant to this Order.

               e. Court Hearings. The restrictions in this Order shall not limit either party in
                  the use of the materials in judicial proceedings in this case. The procedures for
                  use of designated Sensitive and Highly Sensitive materials during any hearing
                  or the trial of this matter shall be determined by the parties and the Court in
                  advance of the hearing or trial. No party shall disclose materials designated
                  Sensitive or Highly Sensitive in open court without agreement by the parties
                  that such materials may be disclosed in open court or prior authorization by
                  the Court.

       5.      Additional Rules for Handling of Sensitive Materials. The following

additional terms apply to Sensitive materials:

               a. Storage. Sensitive materials must be maintained in the custody and control of
                  Defendant, the legal defense team, and authorized persons. This restriction
                  shall not apply to the person to whom the Sensitive information solely and
                  directly pertains or his/her attorney.




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       6.      Additional Rules for Handling of Highly Sensitive Materials. The following

additional rules apply to Highly Sensitive materials:

               a. Additional Limitations on Dissemination. Defense counsel may not provide
                  a copy of Highly Sensitive materials to Defendant or permit Defendant to
                  view such materials unsupervised by defense counsel or an attorney,
                  investigator, paralegal, or support staff person employed by defense counsel.
                  The parties agree that defense counsel or an attorney, investigator, paralegal,
                  or support staff person employed by defense counsel, may supervise
                  Defendant by allowing access to Highly Sensitive materials through a cloud-
                  based delivery system that permits Defendant to view the materials but does
                  not permit Defendant the ability to download; provided that, prior to doing so,
                  defense counsel first provides notice to the United States and allow the United
                  States to file an objection with the Court if no agreement is reached.

               b. Additional Limitations on Reproduction. Counsel agrees that prior to
                  showing materials to Defendant designated as Highly Sensitive, counsel or an
                  attorney, investigator, paralegal, or support staff person employed by defense
                  counsel will read Defendant the relevant parts of this Order, and remind
                  Defendant of the consequences of violating the Order. If Defendant takes
                  notes regarding Highly Sensitive materials, counsel or an attorney,
                  investigator, paralegal, or support staff person employed by defense counsel
                  must take reasonable steps to determine whether Defendant has copied any
                  personal identity information as identified in Rule 49.1 of the Federal Rules of
                  Criminal Procedure or any telephone numbers, email addresses, driver’s
                  license numbers, and similar unique identifying information.

               c. Storage. Highly Sensitive materials must be maintained in the custody and
                  control of the legal defense team and authorized persons. This restriction
                  shall not apply to the person to whom the Highly Sensitive information solely
                  and directly pertains or his/her attorney.

       7.      Viewing by Incarcerated Defendants. If Defendant is in the custody of the

United States Marshals Service, defense counsel is authorized to provide a copy of discovery

materials to the appropriate point of contact so that the defendant can view the discovery

materials, subject to the terms of this Order.

       8.      Disputes. The parties shall make a good faith effort to resolve any dispute about

a sensitivity designation before requesting the Court’s intervention. The United States may agree

to remove or reduce a sensitivity designation without further order of this Court. Whenever the

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redaction of specified information will resolve the basis for which a sensitivity designation was

applied, the United States will agree to redaction, and such redaction will render the materials no

longer subject to this Order. Any agreement to reduce or remove a sensitivity designation or to

redact specific information shall be memorialized in writing.

        9.       Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order nor prevent the defense from contesting a sensitivity

designation. The parties agree that the burden of demonstrating the need for a protective order

remains with the government at all times.

        10.      Failure not Waiver. The failure by the United States to designate any materials

as Sensitive or Highly Sensitive upon disclosure shall not constitute a waiver of the United

States’ ability to later designate the materials as Sensitive or Highly Sensitive but the

government must separately identify and memorialize the changed status of those materials in

writing.

        11.      Automatic Exclusions from this Order. This Order does not apply to materials

that:

              a. Are, or later become, part of the public court record, including materials that have
                 been received in evidence in this or other public trials or hearings;

              b. Were derived directly from Defendant or that pertain solely to Defendant.
                 Examples of such materials include Defendant’s own financial records, telephone
                 records, digital device downloads, social media records, electronic
                 communications, arrest records, and statements to law enforcement; 2 and

              c. Materials that the defense obtains by means other than discovery.

        12.      Government’s Discovery Obligations. Nothing in this Order modifies the


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   Discoverable materials that were derived directly from Defendant or that pertain solely to Defendant are exempt
from this Order regardless of whether the United States has designated any such materials as “Sensitive” or “Highly
Sensitive” because the same materials are being provided or made available to co-defendants or other persons
charged in connection with the events at the United States Capitol on January 6, 2021.

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                                        ATTACHMENT A

                                      Defendant’s Acceptance

       I have read this Protective Order and carefully reviewed every part of it with my attorney.

I am fully satisfied with the legal services provided by my attorney in connection with this

Protective Order and all matters relating to it. I fully understand this Protective Order and

voluntarily agree to it. No threats have been made to me, nor am I under the influence of anything

that could impede my ability to understand this Protective Order fully.




   Date                                              George Pierre Tanios
                                                     Defendant




                                      Defendant’s Acceptance

       I have read this Protective Order and carefully reviewed every part of it with my attorney.

I am fully satisfied with the legal services provided by my attorney in connection with this

Protective Order and all matters relating to it. I fully understand this Protective Order and

voluntarily agree to it. No threats have been made to me, nor am I under the influence of anything

that could impede my ability to understand this Protective Order fully.




   Date                                              Julian Elie Khater
                                                     Defendant




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